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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 22, 2021:


        MINUTE entry before the Honorable Harry D. Leinenweber: Telephonic status
hearing held and continued to 10/20/21 at 9:00 a.m. Time is excluded to 10/20/21
pursuant to 18 U.S.C. § 3161(h)(7)(A) & (B) in the interest of justice and for the reasons
stated on the record. Mailed notice (maf)




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